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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF AMERICA, NO. CR18-5152 BHS
Plaintiff, PLEA AGREEMENT
¥.
ALLEN D. LINT, |
Defendant.

 

 

The United States of America, by and through Annette L. Hayes, United States
Attorney for the Western District of Washington, and Joseph C. Silvio, Special Assistant
United States Attorney, the defendant, ALLEN D. LINT, and his attorney, Bryan
Hershman, enter into the following Plea Agreement, pursuant to Federal Rule of Criminal
Procedure 11(¢)(1)(A): |

1. The Charge. The defendant, having been advised of the right to have this
matter tried before a jury, agrees to waive that right and enter a plea of guilty to the
following charge: Conspiracy to Distribute Controlled Substances, in violation of Title
21, United States Code, Sections 841(a)(1), 841(b)(1)(B), and 846, a lesser included
offense of the offense charged in Count 1 of the Indictment.

By entering a plea of guilty, the defendant hereby waives all objections to the form

of the charging document. The defendant further understands that before entering his

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. 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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plea of guilty, he will be placed under oath. Any statement given by the defendant under -
oath may be used by the United States in a prosecution for perjury or false statement.

2. Elements of the Offense. The elements of the offense of Conspiracy to
Distribute Controlled Substances, in violation of Title 21, United States Code, Sections
$41(a)(1), 84106) (B), and 846, a lesser included offense of the offense charged in -
Count 1 of the Indictment, are as follows:

First, there was an agreement between two or more persons to distribute
controlled substances;

Second, the defendant joined in the agreement knowing of its purpose and
intending to help accomplish that purpose; and |

Third, the offense involved an agreement to distribute 1 gram or more of a mixture
or substance containing a detectable amount of lysergic acid diethylamide (LSD).

3. Drug Offense - Proof of Drug Quantity for Mandatory Minimum. The
defendant further understands that in order to invoke the statutory sentence for the lesser
included offense of the offense charged in Count 1 of the Indictment, the United States
must prove beyond a reasonable doubt that the offense involved an agreement to
distribute 1 gram or more of a mixture or substance containing a detectable amount of
LSD. The defendant expressly waives the right to require the United States to make this
proof at trial and stipulates that the offense to which he is pleading guilty involved an
agreement to distribute 1 gram or more of a mixture or substance containing a detectable
amount of LSD.

4; The Penalties. The defendant understands that the statutory penalties for
the offense of Conspiracy to Distribute Controlled Substances, in violation of Title 21,
United States Code, Sections 841(a)(1), 841(b)(1 XB), and 846, a lesser inchided offense |
of the offense charged in Count 1 of the Indictment, are as follows: A minimum term of
imprisonment of 5 years, and maximum term of imprisonment of 40 years, a fine of up to

$5,000,000, a period of supervision following release from prison of at least 4 years, and

PLEA AGREEMENT / United Siates v. Lint, CR18-5152 BHS-2 UNITED STATES ATTORNEY
. 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98161
(206) 553-7970
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a mandatory special assessment of $100. The defendant agrees that the special
assessment shall be paid at or before the time of sentencing.

The defendant understands that as a part of any sentence, in addition to any term
of imprisonment and/or fine that is imposed, the Court may order the defendant to pay
restitution to any victim of the offense, as required by law.

The defendant further understands that a consequence of pleading guilty may
include the forfeiture of certain property either as a part of the sentence imposed by the
Court, or as a result of civil judicial or administrative process.

The defendant agrees that any monetary penalty the Court imposes, including the
special assessment, fine, costs, or restitution, is due and payable immediately and further
agrees to submit a completed Financial Statement of Debtor form as requested by the
United States Attorney’s Office.

5. Rights Waived by Pleading Guilty. The defendant understands that by
pleading guilty, he knowingly and voluntarily waives the following rights:

a. The right to plead not guilty and to persist in a plea of not guilty;
b. The right to a speedy and public trial before a jury of his peers;
¢. The right to the effective assistance of counsel at trial, including, if
the defendant could not afford an attorney, the right to have the Court appoint one for
him;
da The right to be presumed innocent until guilt has been established

beyond a reasonable doubt at trial;

e. The right to confront and cross-examine witnesses against the
defendant at trial; .
f. The right to compel or subpoena witnesses to appear on his behalf at

trial; .

g. The right to testify or to remain silent at trial, at which trial such
silence could not be used against the defendant; and

h. The right to appeal a finding of guilt or any pretrial! rulings.

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700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
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6. Drug Offenses - Program Eligibility. The defendant understands that by
pleading guilty to a felony drug offense, the defendant will become ineligible for certain
food stamp and Social Security benefits as directed by Title 21, United States Code,
Section 862a.

7. Forfeiture. The defendant understands that the forfeiture of assets is
part of the sentence that must be imposed in this case. The defendant agrees that
the conduct to which he is pleading guilty, a lesser included offense of the offense
charged in Count 1 of the Indictment, and this Plea Agreement provide a sufficient
factual and statutory basis for the forfeiture of the property sought by the United
States.

The defendant agrees, pursuant to Title 21, United States Code, Section 853(a), to
forfeit to the United States immediately all of his right, title, and interest in any
property constituting, or derived from, any proceeds the defendant obtained, directly or
indirectly, as the result of the commission of the lesser included offense of the offense
charged in Count | of the Indictment, and further to forfeit any of the defendant’s
property used, or intended to be used, in any manner or part, to commit, or to facilitate
the commission of, the lesser included offense of the offense charged in Count 1 of the
Indictment, including the following property:

a. $3,122.25 in U.S. currency seized from the defendant on September
28, 2017;

b. Various precious metals seized from the defendant on September 28,
2017;

C. Samsung mobile phone, model SM-G902V, IMEI
990004864303452;

d. Motorola mobile phone, model XT1650-02, unknown serial or IMEI
number, black in color;

e. LG mobile phone, model LG-D820, unknown serial or IMEI
number, black in color;

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700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206} 553-7970
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f. Samsung mobile phone, model SM-G386T, serial number |
R28F8022X2J;

g. Samsung mobile phone, model SM-G925V, IMEI
990004848478784; and :

h, Dell laptop computer, Inspiron 5720, service tag number 9BYQCT1.

The United States reserves its right to proceed against any assets not identified
in this Plea Agreement, including any property in or over which the defendant has any
interest or control, if those assets, real or personal, tangible or intangible, constitute or
are derived from proceeds the defendant obtained, directly or indirectly, as the result of a
violation of Title 21, United States Code, Sections 841 and 846.

8. Forfeiture of Contraband. Defendant agrees that if any federal law
enforcement agency seized any firearms, illegal drugs, or other illegal contraband that
was in defendant’s direct or indirect control, defendant consents to the administrative
forfeiture, official use, and/or destruction of said firearms or contraband by any federal
law enforcement agency involved in the seizure of these items.

9. Statement of Facts. The parties agree on and stipulate to the following
facts and the defendant admits that he is guilty of the charged offenses:

a. Beginning at a time unknown, but within the last five years, and |
continuing until on or about September 28, 2017, defendant ALLEN D. LINT entered
into an agreement with the administrators of Dream Market, and others known and
unknown, to distribute controlled substances. Defendant entered into this agreement
knowing of its purpose and intending to help accomplish that purpose.

b. Specifically, from no later than May 23, 2016, until September 28,
2017, defendant operated a vendor account on the Dream Market dark web marketplace,
distributing various controlled substances including: LSD, psychedelic mushrooms, 4-
chloro-2, 5- dimethoxyamphetamine (DOC), 3, 4-methylenedioxymethamphetamine
(MDMA), marijuana, and various marijuana distillates.

c. During the time that defendant was distributing controlled
substances on the Dream Market platform, he filled more than 1,700 orders that he
shipped to customers located throughout the United States. Customers paid defendant via
cryptocurrency that was held in escrow by the administrators of Dream Market. In return

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700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 938101
(206) 553-7970
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for being allowed to operate as a vendor on the Dream Market platform, defendant paid:
Dream Market administrators a percentage of the proceeds of each controlled substance
transaction. .

d. On September 28, 2017, agents executed a federal search warrant at
defendant’s residence. Pursuant to that warrant, agents seized multiple controlled
substances including: 29.64 grams of LSD cardstock (approximately 3,683 individual
doses), psychedelic mushrooms, DOC, MDMA, N, N-dimethyltryptamine (DMT), and
various marijuana products. During this search, law enforcement also seized: a canister
of methylsulfonylmethane (frequently used as a cutting agent for methamphetamine),
boxes of latex gloves, a small digital scale, a vacuum-sealer, shipping materials, and a
ledger that contained dozens of names and addresses along with hand-written notes
depicting amounts and types of controlled substances that defendant had distributed to
customers throughout the United States via his Dream Market vendor account.

10, United States Sentencing Guidelines. The defendant understands and
acknowledges that the Court must consider the sentencing range calculated under the
United States Sentencing Guidelines and possible departures under the Sentencing
Guidelines together with the other factors set forth in Title 18, United States Code,
Section 3553(a), including: (1) the nature and circumstances of the offenses; (2) the
history and characteristics of the defendant; (3) the need for the sentence to reflect the
seriousness of the offenses, to promote respect for the law, and to provide just
punishment for the offenses; (4) the need for the sentence to afford adequate deterrence to
criminal conduct; (5) the need for the sentence to protect the public from further crimes
of the defendant; (6) the need to provide the defendant with educational and vocational
training, medical care, or other correctional treatment in the most effective manner; 7
the kinds of sentences available; (8) the need to provide restitution to victims; and (9) the
need to avoid unwarranted sentence disparity among the defendants involved in similar
conduct who have similar records. Accordingly, the defendant understands and
acknowledges that:

a. The Court will determine the applicable Sentencing Guidelines
range at the time of sentencing;

b. After consideration of the Sentencing Guidelines and the factors in

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700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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18 U.S.C. § 3553(a), the Court may impose any sentence authorized by law, up to the
maximum term authorized by law;

C. The Court is not bound by any recommendation regarding the
sentence to be imposed, or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Department, or by any
stipulations or agreements between the parties in this Plea Agreement; and

d. The defendant may not withdraw his guilty pleas solely because of
the sentence imposed by the Court.

11. Sentencing Factors. The Parties agree that the following Sentencing
Guidelines apply to this case:

a. The base offense level is 32 under USSG § 2D1.1(c)(4);

. b. A two-level increase for mass marketing by means of an interactive
computer service pursuant to USSG § 2D1.1(b)(7); and

c. A three-level decrease for acceptance of responsibility pursuant to
USSG § 3E1.1 (b).

The parties are free to seek the application of any other provisions of the
Sentencing Guidelines. The defendant understands that at sentencing the Court is free to
apply additional downward or upward adjustments in determining the defendant’s |
Sentencing Guidelines range.

12. Acceptance of Responsibility. At sentencing, if the Court concludes the
defendant qualifies for a downward adjustment for acceptance of responsibility pursuant
to USSG § 3E1.1(a) and the defendant’s offense level is 16 or greater, the United States
will make the motion necessary to permit the district court to decrease the total offense
level by three (3) levels pursuant to USSG §§ 3E1.1(a) and (b), because the defendant has
assisted the United States by timely notifying the United States of his intention to plead
guilty, thereby permitting the United States to avoid preparing for trial and permitting the

Court to allocate its resources efficiently.

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. 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
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13. Ultimate Sentence. The defendant acknowledges that no one has promised |
or guaranteed what sentence the Court will impose. .

14. Non-Prosecution of Additional Offenses. As part of this Plea Agreement, -
the United States Attorney’s Office for the Western District of Washington agrees not to

prosecute the defendant for any additional offenses known to it as of the time of this

Agreement. At the time of sentencing, pl Wace te dielse Code
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In this regard, the “end tetich wee the United States has agreed not to |

prosecute all of the criminal charges the evidence establishes were committed by the
defendant solely because of the promises made by the defendant in this Agreement. The
defendant agrees, however, that for purposes of preparing the Presentence Report, the
United States Attorney’s Office will provide the United States Probation Office with
evidence of all conduct committed by the defendant. _ |

The defendant agrees that any charges to be dismissed before or at the time of

|| sentencing were substantially justified in light of the evidence available to the United

States, were not vexatious, frivolous or taken in bad faith, and do not provide the
defendant with a basis for any future claims under the “Hyde Amendment,” Pub. L. No.
105-119 (1997). | |

15. Breach, Waiver, and Post-Plea Conduct. The defendant agrees that if the
defendant breaches this Plea Agreement, the United States may withdraw from this Plea
Agreement and the defendant may be prosecuted for all offenses for which the United
States has evidence. The defendant agrees not to oppose any steps taken by the United |

| States to nullify this Plea Agreement, including the filing of a motion to withdraw from

the Plea Agréement. The defendant also agrees that if the defendant is in breach of this
Plea Agreement, the defendant has waived any objection to the re-institution of any
charges in the Indictment that were previously dismissed or any additional charges that

had not been prosecuted.

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700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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The defendant further understands that if, after the date of this Plea Agreement,
the defendant should engage in illegal conduct, or conduct that violates any conditions of
release or the conditions of his confinement, (examples of which include, but are not»
limited to, obstruction of justice, failure to appear for a court proceeding, criminal
conduct while pending sentencing, and false statements to law enforcement agents, the
Pretrial Services Officer, Probation Officer, or Court), the United States is free under this
Plea Agreement to file additional charges against the defendant or to seek a sentence that
takes such conduct into consideration by requesting the Court to apply additional
adjustments or enhancements in its Sentencing Guidelines calculations in order to
increase the applicable advisory Guidelines range, and/or by seeking an upward departure
or variance from the calculated advisory Guidelines range. Under these circumstances,
the United States is free to seek such adjustments, enhancements, departures, and/or
variances even if otherwise precluded by the terms of the plea agreement.

16. Waiver of Appeal and Rights to Collateral Attack. The defendant
acknowledges that by entering the guilty plea required by this Plea Agreement, the .
defendant waives all rights to appeal from his conviction and any pretrial rulings of the
Court. The defendant further agrees that, provided the Court imposes a custodial
sentence that is within or below the Sentencing Guidelines range (or the statutory
mandatory minimum, if greater than the Guidelines range) as determined by the Court at
the time of sentencing, the defendant waives to the full extent of the law:

a. any right conferred by Title 18, United States Code, Section 3742, to
challenge, on direct appeal, the sentence imposed by the Court, including any fine,
restitution order, probation or supervised release conditions, or forfeiture order (if
applicable); and .

b. any right to bring a collateral attack against the conviction and _
sentence, including any restitution order imposed, except as it may relate to the

eifectiveness of legal representation.

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700 STEWART STREET, SUITE 3220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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The defendant acknowledges having received sufficient consideration in exchange
for waiving the rights defined in this paragraph, to include the government’s decisions to
dismiss Count 2 of the Indictment, and to forego additional criminal charges and specific
sentencing enhancements, e.g., the filing of an information pursuant to Title 21, United
States Code, Section 851,

This waiver does not preclude the defendant from bringing an appropriate motion
pursuant to 28 U.S.C. § 2241, to address the conditions of his confinement or the |
decisions of the Bureau of Prisons regarding the execution of his sentence.

If the defendant breaches this Plea Agreement at any time by appealing or
collaterally attacking (except as to effectiveness of legal representation) the conviction or
sentence in any way, the United States may prosecute the defendant for any counts,
including those with mandatory minimum sentences, that were dismissed or not charged
pursuant to this Plea Agreement. |

17. Voluntariness of Plea. The defendant agrees that he has entered into this
Plea Agreement freely and voluntarily and that no threats or promises, other than the
promises contained in this Plea Agreement, were made to induce the defendant to enter
his pleas of guilty.

18. Statute of Limitations. In the event this Plea Agreement is not accepted
by the Court for any reason, or the defendant has breached any of the terms of this Plea
Agreement, the statute of limitations shall be deemed to have been tolled from the date of
the Plea Agreement to: (1) thirty (30) days following the date of non-acceptance of the
Plea Agreement by the Court; or (2) thirty (30) days following the date on which a breach
of the Plea Agreement by the defendant is discovered by the United States Attorney’s
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PLEA AGREEMENT / United States v. Lint, CR1$-5152 BHS - 10 UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 3220

SEATTLE, WASHINGTON 98101
(206) 553-7970
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19. Completeness of Agreement. The United States and the defendant
acknowledge that these terms constitute the entire Plea Agreement between the parties.
This Plea Agreement binds only the United States Attorney’s Office for the Western
District of Washington. It does not bind any other United States Attorney’s Office or any
other office or agency of the United Siates, or any state or local prosecutor,

Dated this 47’ day of September, 2018.

  
     
   
   
 

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Attorney for the Defe

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PLEA AGREEMENT / United States v, Lint, CR18-5152 BHS - 11 UNITED STATES ATTORNEY
. 700 STEWART STREET, Sure 5220

SEATTLE, WASHINGTON 98101
(206) 553-7970
